          Case 1:22-cr-00061-RBW Document 9 Filed 02/25/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   CRIMINAL NO.
                                                  :
              v.                                  :
                                                  :   MAGISTRATE NO. 22-MJ-36
 JON NICHOLAS HENEGHAN                            :
 CAROL O’NEAL KICINSKI,                           :   VIOLATIONS:
                                                  :   18 U.S.C. § 1752(a)(1)
                    Defendants.                   :   (Entering and Remaining in a Restricted
                                                  :   Building or Grounds)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia,

                              JON NICHOLAS HENEGHAN
                                        AND
                                CAROL O’NEAL KICINSKI,

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
          Case 1:22-cr-00061-RBW Document 9 Filed 02/25/22 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia,

                              JON NICHOLAS HENEGHAN
                                        AND
                                CAROL O’NEAL KICINSKI,

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, engage in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President was temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of

Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia,

                              JON NICHOLAS HENEGHAN
                                        AND
                                CAROL O’NEAL KICINSKI,

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




                                                 2
            Case 1:22-cr-00061-RBW Document 9 Filed 02/25/22 Page 3 of 3




                                        COUNT FOUR

               On or about January 6, 2021, within the District of Columbia,

                             JON NICHOLAS HENEGHAN
                                       AND
                               CAROL O’NEAL KICINSKI,

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))


Dated: February 25, 2022

                                                    Respectfully submitted,

                                                    MATTHEW GRAVES
                                                    United States Attorney

                                        By:         /s/ Mona Lee M. Furst
                                                    MONA LEE M. FURST
                                                    Assistant United States Attorney (Detailee)
                                                    Kansas Bar No. 13162
                                                    United States Attorney’s Office
                                                    District of Columbia
                                                    Telephone No. (316) 269-6537
                                                    Mona.Furst@usdoj.gov




                                               3
